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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

WEST VIRGINIA MEDICAL INSTITUTE, INC.,

              Plaintiff,

v.                                                 Civil Action No.: 2:15-cv-13449


INNOVATIVE RESOURCE GROUP, LLC
d/b/a APS HEALTHCARE MIDWEST, a
Wisconsin Limited Liability Company,
KEPRO ACQUISITIONS, INC., a Pennsylvania
Corporation, WEST VIRGINIA
DEPARTMENT OF ADMINISTRATION,
PURCHASING DIVISION, a West Virginia
Agency, WEST VIRGINIA DEPARTMENT OF
HEALTH AND HUMAN RESOURCES,
a West Virginia Agency, ANGELA HOBBS, an
individual, and KRISTYN TAYLOR, an
individual,


              Defendants.

     RESPONSE IN OPPOSITION TO INNOVATIVE RESOURCE GROUP, LLC AND
               KEPRO ACQUISITION, INC.’S MOTION TO SEVER

       COMES NOW Plaintiff West Virginia Medical Institute, Inc. (“WVMI”) and files its

response in opposition to the Motion to Sever filed on behalf of Defendants Innovative Resource

Group, LLC d/b/a APS Healthcare Midwest (“APS”) and KEPRO Acquisitions, Inc. (“KEPRO”).

Specifically, APS and KEPRO (collectively, “Corporate Defendants”) seek to severe WVMI’s

claims against them from the claims that WVMI has asserted against Defendants Angela Hobbs

and Kristyn Taylor (collectively, “Individual Defendants”). However, WVMI’s claims against

both classes of Defendants arise from the same transaction and occurrence and have common

questions of law and fact. As such, the Corporate Defendants’ Motion to Sever should be denied.




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   I.       Standard of Review

         Motions to sever pursuant to Rule 21 of the Federal Rules of Civil Procedure are governed

by the same liberal rules regarding permissive joinder under Rule 20. This Court has aptly

summarized the standards by which such motions are reviewed:

         While Rule 21 is silent on the standard applicable for determining misjoinder,
         courts have uniformly held that parties are misjoined when they fail to satisfy either
         of the preconditions for permissive joinder of parties set forth in Rule 20(a).
         Thus, misjoinder is present, and severance appropriate, when the claims asserted
         by or against the joined parties do not arise out of the same transaction or
         occurrence or do not present some common question of law or fact. Rule 20(a)
         permits the broadest possible scope of action consistent with fairness to the parties[,
         and] joinder of claims, parties and remedies is strongly encouraged. The court notes
         the transaction and common question requirements prescribed by Rule 20(a) are to
         be liberally construed in the interest of convenient and judicial economy. The Court
         is also required to construe Rule 20(a) in a manner that will secure the just, speed,
         and inexpensive determination of this action.

Jonas v. Conrath, 149 F.R.D. 520, 523 (S.D. W. Va. 1993) (internal citations, quotations, editing

marks, and footnotes omitted). “For the present purpose of the court the position of the complaint,

interpreted most favorably to plaintiff, must be accepted.” Mitchell v. Hires Ideal Bottling Co., 19

F.R.D. 350, 351 (D. Neb. 1956).

   II.      The claims against the Corporate Defendants arise from the same transaction and
            occurrence as the claims against the Individual Defendants.

         The claims against both the Corporate and Individual Defendants arise from the same

transaction or occurrence, and there is far more than a “logical relationship” between the two.

Ashworth v. Albers Medical, Inc., 395 F. Supp. 2d 395, 411 (S.D. W. Va. 2005). Hobbs and Taylor

were formerly WVMI employees who performed services related to the contracts in question.

They were solicited by APS and KEPRO as part of a concerted effort to undermine WVMI’s ability

to perform its services and to stifle competition. See Compl. at ¶ 67. Before resigning from

WVMI, Hobbs and Taylor forwarded over one thousand (1,000) WVMI emails to their personal




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accounts and downloaded over one hundred (100) WVMI documents to personal USB drives.

These emails and files contain WVMI’s confidential, proprietary, and trade secret information,

including training materials and internal processes that would allow a competitor — like APS and

KEPRO — to replicate WVMI’s business and gain a competitive advantage in the upcoming re-

bid. See id. at ¶¶ 69–71; see also Motion for Preliminary Injunction at p. 9.

       To suggest that these claims do not “arise form the same transaction or occurrence” as the

other claims in the Complaint is ludicrous. Hobbs and Taylor are two of the poached employees

(Count V against APS and KEPRO) and their recruitment and tortious conduct supports APS’s

and KEPRO’s anti-competitive maneuvers (Count I against APS and KEPRO). More specious,

however, is the complete disregard for the fact that the trade secrets, computer crimes, and

conversion counts are also pled against APS and KEPRO. WVMI made this clear at several points

in its Complaint:

       72.    Upon information and belief, these emails and documents were or are still
       in Hobbs’s and Taylor’s possession and/or the possession of KEPRO and APS.

       73.    Upon information and belief, Hobbs and Taylor possessed and/or continue
       to possess these emails and documents while employed by KEPRO and/or APS.
              ....
       129. Hobbs and Taylor possessed this computer data while employees and/or
       agents of KEPRO and/or APS.
              ....
       134. By engaging in the conduct alleged herein, Hobbs and Taylor, individually
       and as employees and/or agents of KEPRO and/or APS, have misappropriated
       WVMI’s trade secret information and data from which WVMI derives independent
       economic value, actual or potential, from not being generally known to, and not
       being readily ascertainable by proper means by, other persons who can obtain
       economic value from its disclosure or use; and is the subject of efforts by WVMI
       reasonable under the circumstances to maintain their secrecy.
              ....
       136. Upon information and belief, Hobbs and Taylor possessed WVMI’s
       confidential, proprietary, and trade secret information while employees and/or
       agents of KEPRO and/or APS, all without WVMI’s express or implied consent.




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Compl. (emphases added). Each one of the paragraphs quoted above negates the Corporate

Defendants’ contention that “the culpability of the APS Defendant[s] is not dependent upon, or

even affected by, the culpability of the Individual Defendants . . . .” Mot. Sever at pg. 6. The

suggestion that these claims do not arise from the same transaction or occurrence is frivolous on

its face.

    III.       The claims against the Corporate Defendants have common questions of law and
               fact as the claims against the Individual Defendants.

           In addition to arising from the same transaction and occurrence, WVMI’s claims against

both the Corporate and Individual Defendants include common questions of law and fact,

including:

          Did the Corporate Defendants unlawfully poach WVMI’s employees, including the

           Individual Defendants? (Counts I, V, VII, VIII, and IX)

          Did the misappropriation of the computer data by the Individual Defendants, acting either

           as agents of the Corporate Defendants or on their own, violate the West Virginia Computer

           Crimes and Abuse Act? (Counts I and VII)

           Did the data taken by the Individual Defendants constitute confidential, proprietary, or

           trade secret material in violation of the Uniform Trade Secrets Act? (Counts I and VIII)

          Do the Individual Defendants still possess the data in question while employees and/or

           agents of the Corporate Defendants? (Counts I, VII, VIII, and IX)

          Did the Corporate Defendants possess or have knowledge of the computer data taken by

           the Individual Defendants? (Counts I, VII, VIII, and IX)

Each one of these questions precludes the Corporate Defendants’ Motion to Sever.

    IV.        Conclusion




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       For the forgoing reasons, WVMI respectfully requests that this Court reject APS’s and

KEPRO’s contentions and deny their Motion to Sever.



                                          Respectfully submitted,

                                          West Virginia Medical Institute, Inc.,

                                          By counsel,

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                             CHARLESTON DIVISION

WEST VIRGINIA MEDICAL INSTITUTE, INC.,

               Plaintiff,

v.                                                   Civil Action No.: 2:15-cv-13449


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DEPARTMENT OF ADMINISTRATION,
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Agency, WEST VIRGINIA DEPARTMENT OF
HEALTH AND HUMAN RESOURCES,
a West Virginia Agency, ANGELA HOBBS, an
individual, and KRISTYN TAYLOR, an
individual,


               Defendants.
                                CERTIFICATE OF SERVICE

      I, Carte P. Goodwin, certify that, on October 9, 2015, a true and exact copy of the foregoing
Response in Opposition to Innovative Resource Group, LLC and KEPRO Acquisition, Inc.’s
Motion to Sever was served via electronic notification through the Court’s CM/ECF system:

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